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 5
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 7
                                     IN THE UNITED STATES DISTRICT COURT
 8
                                    FOR THE EASTERN DISTRICT OF CALIFORNIA
 9

10
     UNITED STATES OF AMERICA,                              CASE NO. 2:12-CR-00069 JAM
11
                                          Plaintiff,        STIPULATION AND ORDER CONTINUING
12                                                          IMPOSITION OF JUDGMENT & SENTENCING
                               v.
13                                                          DATE: JULY 22, 2014
     ANDREY AND VITALIY ANDREYEV,                           TIME: 9:45 A.M.
14                                                          JUDGE: JOHN A. MENDEZ
                                          Defendants.
15

16
                                                        STIPULATION
17
            Plaintiff United States of America, by and through its counsel of record, and defendants Andrey
18
     and Vitaliy Andreyev, by and through their counsel of record, hereby stipulate that the judgment and
19
     sentencing date in the matter presently set for July 22, 2014, at 9:45 a.m. and all accompanying dates
20
     associated with sentencing should be vacated and the matter continued to February 17, 2015, at 9:30
21
     a.m. for a status conference regarding the imposition of judgment and sentencing.
22
            Both Andrey Andreyev and Vitaliy Andreyev’s plea agreements with the government contain
23
     cooperation provisions and the government is not able to adequately assess the degree of their
24
     cooperation until the charges against others have been tried or otherwise disposed of. For that reason,
25
     the parties have stipulated that the current date for judgment and sentencing and all associated dates
26
     concerning the Presentence Report may be vacated and the matter continued to February 17, 2015, at
27
     9:30 a.m. for a status conference regarding a new date for imposition of judgment and sentencing and
28

     Stipulation to Continue Sentencing                      1
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 1 the setting of a new schedule of disclosures for the Presentence Report. Probation does not object.

 2 IT IS SO STIPULATED.

 3 DATED: June 5, 2014                                   BENJAMIN B. WAGNER
                                                         United States Attorney
 4
                                                         /s/ Lee S. Bickley
 5                                                       LEE S. BICKLEY
                                                         Assistant United States Attorney
 6
                                                         For the UNITED STATES OF AMERICA
 7

 8 DATED: June 5, 2014                                   /s/ Lee S. Bickley for
                                                         JOHN DUREE
 9
                                                         For defendant VITALIY ANDREYEV
10

11 DATED: June 5, 2014                                   /s/ Lee S. Bickley for
                                                         VICTOR HALTOM
12
                                                         For defendant ANDREY ANDREYEV
13

14                                                 ORDER
15
            IT IS SO FOUND AND ORDERED that for good cause appearing from the stipulation of the
16

17 parties that the date for judgment and sentencing in this matter currently scheduled for 9:45 a.m. on July

18 22, 2014, and all accompanying dates concerning the Presentence Report are vacated and the matter is

19 continued to February 17, 2015, at 9:30 a.m. for a status conference regarding the imposition of

20 judgment and sentence.

21

22 This 6th day of June, 2014.

23                                                       /s/ John A. Mendez________________
                                                         HONORABLE JOHN A. MENDEZ
24                                                       UNITED STATES DISTRICT JUDGE

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26

27

28

     Stipulation to Continue Sentencing                 2
